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UNITED STATES DISTRICT COURT                                                11   DATE  FL£D:~'j- 'f   //
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- )(
                                                                    ORDER DENYING MOTION FOR
In the Matter of the Trusteeship Created by                         JUDGMENT ON THE
American Home Mortgage Investment Trust 2005-                       PLEADINGS OR SUMMARY
2, relating to the issuance of Mortgage-Backed                      JUDGMENT OR, IN THE
Notes pursuant to an Indenture dated as of October                  ALTERNATIVE, TO ADJOURN
1, 2007                                                             THE TRIAL AND EXTEND
                                                                    DEADLINES

                                                                    14 Civ. 2494 (AKH)
-------------------------------------------------------------- )(
AL VINK. HELLERSTEIN, U.S.D.J.:

                 On June 3, 2014, Party-Intervenor Semper Capital Management, L.P. ("Semper")

filed a motion for judgment on the pleadings or summary judgment or, in the alternative, to

adjourn the trial and extend the deadlines that this Court had set. That motion is denied in its

entirety.

                 In moving for judgment on the pleadings or summary judgment, Semper argued

that this action is barred by New York's six-year statute of limitations. For the reasons stated in

paragraphs 96 to 125 of my Findings of Fact and Conclusions of Law, dated and filed July 24,

2014, Semper's argument is denied.

                 Semper's alternative motion to adjourn the trial is also denied. The trial had been

scheduled to begin on June 9, 2014. I granted a four week adjournment, so that trial began July

7, 2014. That four week adjournment struck a balance between Wells Fargo and Sceptre's need

for an early trial date and Semper' s desire to conduct additional discovery and prepare its case.




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                                       CONCLUSION

              For the foregoing reasons, Semper's motion is denied in its entirety. The Clerk

shall mark the motion (Doc. No. 65) terminated.


              SO ORDERED.

Dated:        July ~2014
              New York, New York                          AL VIN K. HELLERSTEIN
                                                          United States District Judge




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